      Case 2:20-cv-00226-SAB   ECF No. 43   filed 12/24/20   PageID.526 Page 1 of 22




 1                                                JUDGE STANLEY A. BASTIAN

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 8
                       UNITED STATES DISTRICT COURT
 9                    EASTERN DISTRICT OF WASHINGTON

10   BRUCE GOODELL, a single person,              NO. 2:20-cv-00226-SAB

11                     Plaintiff,                 PLAINTIFF’S RESPONSE TO
                                                  DEFENDANTS’ CROSS MOTION
12   v.                                           FOR SUMMARY JUDGMENT
                                                  AND REPLY BRIEF IN SUPPORT
13   COLUMBIA COUNTY PUBLIC                       OF PARTIAL SUMMARY
     TRANSPORTATION; COLUMBIA                     JUDGMENT
14   COUNTY TRANSPORTATION
     AUTHORITY; and DAVID                         HEARING NOTED FOR:
15   OCAMPO,
                                                  January 29, 2021, 10:00 A.M.
16                     Defendants.
                                                  With Oral Argument
17                                                Spokane, WA

18

19

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 1                                 I.   INTRODUCTION

 2         In most instances of discrimination, victims lack indisputable proof of their

 3   abuse. Often, the most victims can do is report what happened to them and hope to

 4   be believed. The question before the Court is whether employers who choose to

 5   disbelieve victims can legally fire the victims for coming forward.

 6         Defendants’ answer to this question is an emphatic “yes.” Defendants would

 7   not even require employers to prove that an employee was untruthful. Instead, they

 8   would allow employers to retaliate against employees who truthfully reported

 9   discrimination, so long as the employer believes them to be untruthful. Per

10   Defendants’ view, the only instance in which a victim could contest their

11   retaliatory termination is if they meet the nearly impossible burden of proving that

12   the employer did not genuinely believe them to be untruthful.

13         This approach would turn the law on its head and make a mockery of our

14   anti-discrimination laws. It ignores the plain text of the WLAD and its explicit

15   liberal construction mandate. With no textual support, Defendants ask the Court to

16   set a new precedent that would leave every victim vulnerable to retaliation and

17   create a hole in the WLAD so large that it renders the statute meaningless.

18         The Court should reject Defendants’ novel interpretation of the WLAD and

19   instead apply the plain text of the statute. In so doing, the Court should grant

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 1   Plaintiff’s motion for summary judgment on his WLAD retaliation claim and deny

 2   Defendants’ cross claim.

 3         Alternatively, the Court should certify this question to the Washington

 4   Supreme Court. The briefs of both parties have revealed that there is a lack of

 5   Washington case law on the question presented. If it finds Washington law unclear,

 6   the Court should not rely on sharply conflicting decisions from other jurisdictions

 7   analyzing a different statute. If the Court feels that the statutory text of the WLAD

 8   is inadequate “to ascertain the local law of this state” and that “the local law has

 9   not been determined,” certification is warranted. RCW 2.60.020.

10                   II. UNDISPUTED AND CONTESTED FACTS

11         The only fact that is relevant to the present motion is undisputed: Defendant

12   Ocampo told Plaintiff Goodell that the termination of his employment was based on

13   Mr. Ocampo’s allegation that Mr. Goodell made an untruthful complaint of

14   discrimination and made further untrue statements during the subsequent

15   investigation. ECF No. 39, ¶¶ 9-10; ECF No. 40-4; ECF No. 15, ¶¶ 9-10. As stated

16   in Plaintiff’s Complaint and Declaration filed herewith, the veracity of Mr.

17   Ocampo’s allegation of untruthfulness is very much in dispute. ECF No. 37; ECF

18   No. 44 (Declaration of Bruce Goodell). But this dispute need not be resolved at this

19   time, because the question presented is simply whether Defendants’ professed

20   motive for termination is legal.
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 1         Defendants mistakenly assert that the allegations made by Mr. Ocampo in the

 2   termination letter are undisputed and have in fact been proven true. For instance,

 3   Defendants present as undisputed fact that witnesses failed to corroborate or

 4   contradicted Mr. Goodell’s report, and that when Mr. Goodell was presented with

 5   this information, he changed his story or refused to respond. ECF No. 42, p. 4. These

 6   assertions are highly disputed. ECF No. 37; ECF No. 44. Moreover, Defendants have

 7   not offered any admissible evidence to support these allegations, only hearsay

 8   reported secondhand by Mr. Ocampo. Id. These factual allegations should therefore

 9   be disregarded as both unproven and irrelevant.

10                                    III.   ARGUMENT

11      A. The WLAD Protects All Those Who Oppose Discrimination or Assist in
           a Proceeding, Regardless of Truthfulness.
12
           Defendants agree with Plaintiff on the two rules of statutory construction
13
     that are applicable here: (1) the provisions of the WLAD must be liberally
14
     construed “for the accomplishment of the purposes thereof;” and (2) that the Court
15
     must not read language into a statute that the legislature did not intend to include.
16
     See ECF No. 42, p. 7, citing Davis v. Fred's Appliance, Inc., 171 Wn. App. 348,
17
     360, 287 P.3d 51 (2012). These rules permit only one result.
18
           First, only the full protection of those who oppose discrimination or
19
     participate in a proceeding accomplishes the purpose of the WLAD to end
20
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 1   discrimination. Anything less than full protection would deter victims and

 2   witnesses from coming forward and hamper all efforts to stamp out discrimination.

 3   Because most instances of discrimination are of the “he said/she said” variety and

 4   lack definitive proof such as video recording, it is essential that victims and

 5   witnesses are able to tell their side without retribution, so that patterns can emerge,

 6   and investigations can be conducted. It is certainly possible that an employer will

 7   sometimes believe the accused over the accuser, as they should, especially when

 8   accusers do not have irrefutable evidence. The question before the Court is whether

 9   those who report discrimination lose their legal protection in this scenario.

10         While Defendants would answer “yes,” if we are to follow the WLAD’s

11   liberal construction mandate the answer must be “no.” If the answer were yes,

12   employers could simply choose to believe the accused over the accuser, even

13   without definitive proof of what happened, and fire the accuser or witnesses for

14   alleged untruthfulness. Whether the employee was in fact dishonest would be

15   immaterial: employers would argue (as Defendants do here) that their mere belief

16   that the employee was untruthful constitutes a legitimate, nondiscriminatory

17   motive. Every employer could thus avail itself of exception to the antiretaliation

18   clause of the WLAD so large as to render it meaningless. Victims and witness

19   would be deterred from reporting discrimination and it would grow unchecked.

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 1   Rather than liberally construing the WLAD “for the accomplishment of the

 2   purposes thereof,” the entire statutory scheme would be undermined.

 3         Second, because the Court must not read language into a statute that the

 4   legislature did not intend to include, it cannot copy and paste statutory language

 5   from subsection (3) into subsection (1). Defendants’ response to this point is the

 6   observation that the subsection (3) was added in a 2011 revision to the 1949 statute.

 7   ECF No. 42, p. 8. But this makes no difference and does not provide an exception

 8   to a fundamental canon of statutory construction. When amending the statute, the

 9   legislature could have just as easily chosen to add an untruthfulness defense to all

10   three subsections or draft it in another manner that made it apply to the entire

11   statute. We are directed to assume that the legislature made a conscious and

12   purposeful decision to draft the statute as it did, rather than presume that it made a

13   mistake. Russello v. United States, 464 U.S. 16, 23 (1983).

14         It also makes sense that the legislature would provide for an untruthfulness

15   defense only in subsection (3), as it is a unique provision dealing only with office

16   of fraud and accountability investigations into the misuse of public assistance

17   benefits under RCW 74.04.012. This subsection does not serve the fundamental

18   purpose of the WLAD of eradicating discrimination. As such, there would

19   naturally be less concern that permitting employers to fire untruthful fraud

20   whistleblowers would undermine the larger goal of eradicating discrimination.
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 1         Defendants then suggest that the Court should ignore the fact that there is no

 2   untruthfulness defense provided in subsection (1) because it does not contain the

 3   word “retaliation.” ECF No. 42, p. 8. This is a logical fallacy. Subsection (1)

 4   contains explicit language that it is an unfair practice to “discharge, expel, or

 5   otherwise discriminate” against those who have engaged in protected activity, so

 6   the word “retaliate” is not necessary to explain what is prohibited. RCW

 7   49.60.210(1). Indeed, this case is dealing with a discharge—an action specifically

 8   prohibited by statute. But nowhere in subsection (1), or anywhere else in the

 9   WLAD, is there any language to suggest that employers may discharge employees

10   who engage in protected activity when they consider the employees to have been

11   untruthful. Defendants’ proposed interpretation of the WLAD would usurp the

12   legislature’s role in writing the law and add language that is not there. The Court

13   should enforce the law as written.

14      B. Plaintiff Does Not Propose a Strict Liability Standard.

15         Defendants mischaracterize Plaintiff’s position as advocating for a strict

16   liability standard for WLAD retaliation claims, in which plaintiffs do not need to

17   prove causation or follow the McDonnell Douglas factors. ECF No. 42, pp. 6-9.

18   This is not so. Plaintiff recognizes that he must prove that: (1) he engaged in a

19   statutorily protected activity; (2) Defendants took an adverse employment action

20   against him; and (3) there is a causal connection between Plaintiff’s protected
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 1   activity and Defendants’ adverse action.” Mackey v. Home Depot USA, Inc., 12

 2   Wn. App. 2d 557, 574, 459 P.3d 371 (2020). Plaintiff’s argument is not that he is

 3   exempt from proving these elements, but that he has done so as a matter of law.

 4         To wit, there is no question that: (1) Plaintiff engaged in a statutorily

 5   protected activities when he complained to his employer about sexual orientation

 6   harassment and participated in the investigation (ECF Nos. 40-1, 40-2); (2)

 7   Defendants took an adverse action against Plaintiff when they fired him (ECF No.

 8   40-4); and (3) there is a causal connection between Plaintiff’s protected activities

 9   and his termination, as conceded by Defendants in the termination letter. Id.

10         Plaintiff thus satisfies the “because” requirement of the statute. The

11   termination later contains Defendants’ clear acknowledgement that the termination

12   occurred because of Plaintiff’s complaint of discrimination and other statements.

13   ECF No. 40-4. Evidence does not get any simpler or more straightforward than a

14   written confession.

15         The whole of Defendants’ argument can best be summarized by their

16   allegation that “[t]he termination of an employee for lying is not ‘because’ of a

17   protected activity; it is because the employee lied.” ECF No. 42, pp. 7-8. This is a

18   bold and definitive position that the Court must adopt if it is to rule in Defendants’

19   favor. But Defendants provide no support for this position. The only citation

20   Defendants offer is to RCW 49.60.210(1), which is circular reasoning because the
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 1   statute says no such thing. Defendant cannot provide a single statutory citation or

 2   Washington appellate decision to support their position. This is likely because no

 3   Washington court has ever held, in the seventy-one years since it was adopted, that

 4   RCW 49.60.210(1) allows employers to fire employees based on a belief that they

 5   were untruthful while engaged in protected activity.

 6      C. Plaintiff’s Claim is Governed by Both the Opposition Clause and
           Participation Clause, and this Distinction is Inapposite.
 7
           Defendants concede that Plaintiff’s claim is governed by the “opposition
 8
     clause” of the WLAD but argue that it is not covered by the “participation clause”
 9
     because Plaintiff participated in an internal investigation instead of an “official”
10
     investigation. ECF No. 42, pp. 9-14. This is a curious distinction to draw, given
11
     that Plaintiff’s claim is equally viable under either clause. Defendants’ focus on
12
     this issue appears to be motivated by federal cases drawing a distinction between
13
     the two clauses. There are myriad problems with these arguments.
14
           First, Defendants are unable to cite any binding authority on whether
15
     Plaintiff’s claim falls under the participation clause. Defendants cite only an
16
     unpublished district court case, Reiber v. City of Pullman, 2013 WL 3984442,
17
     (unpublished) (E.D. Wash. 2013). That decision, in turn, openly acknowledges that
18
     there is a lack of binding Washington law on this issue. Id. at *9 (“[T]he Court
19
     must address what appears to be an issue of first impression in Washington:
20
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 1   whether statements made during an employer’s internal investigation amount to

 2   protected ‘participation’ activity under the WLAD.”). The court went on to hold

 3   that “there is reason to believe” that Washington courts would follow federal Title

 4   VII decisions holding that statements made in an internal investigation are not

 5   protected, given the similarities between the statutes, but also noted differences.

 6   Id. On the other hand the Washington Supreme has held that Washington law does

 7   not follow federal law if it would lessen state law protections. Antonius v. King

 8   County, 103 P.3d 729, 735, 153 Wash.2d 256 (2004) (“Conversely, where Title

 9   VII and the state discrimination statutes are different and following federal cases

10   would not further the purposes of state law, the court has declined to find federal

11   authority persuasive.”). Given these conflicting rulings, if the Court determines it

12   is critical to resolve whether the participation clause applies, there is even more

13   reason for the Court to certify this matter to the Washington Supreme Court.

14         Plaintiff submits this issue does not need to be resolved because

15   untruthfulness in not a defense under either clause. Defendants appear to

16   distinguish between the clauses in an attempt to lessen the persuasive authority of

17   Egei v. Johnson, 192 F.Supp.3d 81 (D.D.C. 2016), as Egei dealt only with the

18   participation clause and not the opposition clause. This is a distinction without a

19   difference, however, as Egei is only offered for its reasoning that public policy is

20   best served by prohibiting employers from taking adverse action in response to all
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 1   protected activity, even if said activity is proven false. Other courts, including this

 2   circuit, have held that this same reasoning applies to the opposition clause of Title

 3   VII. See Sias v. City Demonstration Agency, 588 F.2d 692, 695 (9th Cir. 1978)

 4   (“But this Court believes that appropriate informal opposition to perceived

 5   discrimination must not be chilled by the fear of retaliatory action in the event the

 6   alleged wrongdoing does not exist.”) (quoting Hearth v. Metropolitan Transit

 7   Commission, 436 F.Supp. 685, 688-689 (D. Minn. 1977)).

 8         As discussed in Egei and is evident from the parties’ conflicting case

 9   citations, there is a disagreement among circuit courts as to whether Title VII

10   permits employers to fire employees for allegedly lying while engaged in protected

11   activity. Again, however, these decisions are not controlling or dispositive. The

12   sole dispositive issue is the text and meaning of Washington law. The plain

13   language of the statute controls, and we are to presume that the legislature acted

14   intentionally when it included an untruthfulness exception in one subsection of the

15   antiretaliation statute and chose not to include it in others. The reasoning of cases

16   analyzing the same issue in the context of Title VII is not controlling; it is only

17   helpful to the extent it shows that the Washington legislature’s decision is

18   consistent with public policy concerns recognized by numerous courts. The cases

19   show that accepting the plain text of the WLAD as written does not in any way

20   lead to an absurd result and is consistent with public policy.
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 1      D. The “Reasonable Belief” Standard Does Not Apply Here.

 2         Defendants next argue that Plaintiff’s claim is barred because he did not

 3   have a “reasonable belief” in the complaint he brought to Defendants’ attention.

 4   ECF No. 42, pp. 14-15, citing Lodis v. Corbis Holdings, Inc., 192 Wash.App. 30,

 5   50, 366 P.3d 1246 (Wash. App. 2015). In so doing, Defendants attempt to twist a

 6   rule meant solely to expand the coverage of the WLAD into one that lessens its

 7   coverage, contrary to the liberal construction mandate.

 8         In full, the “reasonable belief” standard is: “An employee who opposes

 9   employment practices reasonably believed to be discriminatory is protected by the

10   opposition clause whether or not the practice is actually discriminatory.” Renz v.

11   Spokane Eye Clinic, P.S., 114 Wash.App. 611, 619, 60 P.3d 106 (2002) (alterations

12   and internal quotation marks omitted). As demonstrated by all cases applying this

13   standard, it is intended to expand the scope of the WLAD retaliation provision to

14   apply to situations in which the alleged conduct underlying the initial complaint

15   did not rise to being a prohibited discriminatory practice under the WLAD, so long

16   as the plaintiff had a reasonable belief that it rose to this level. Compare, e.g., Renz,

17   114 Wash.App. at 619 (supervisor’s three sexually charged comments within a

18   month supported a reasonable belief of sexual harassment) with Graves v.

19   Department of Game, 887 P.2d 424, 76 Wn.App. 705 (Wash. App. 1994)

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 1   (complaints that supervisor was not spending enough time training plaintiff did not

 2   allege sexual discrimination and thus did not support retaliatory discharge claim).

 3         In every case cited by Defendants, as well as those known to Plaintiff, the

 4   “reasonable belief” test relates only to whether the plaintiff has alleged misconduct

 5   that could be fairly characterized as discrimination, thus expanding the protection

 6   of RCW 49.60.210(1) beyond its statutory text to situations when discrimination

 7   did not occur. There is no known case in which the “reasonable belief” test was

 8   used to narrow the protections of RCW 49.60.210(1) to less than its statutory text

 9   to disallow a retaliation claim based on whether the initial claim was truthful. Such

10   a holding is unlikely to exist because it would directly violate the WLAD’s liberal

11   interpretation mandate. “A statutory mandate of liberal construction requires courts

12   to view with caution any construction that would narrow the coverage of the law.”

13   Lodis v. Corbis Holdings, Inc., 292 P.3d 779, 787 (Wash. App. 2013), citing

14   Marquis v. City of Spokane, 130 Wash.2d 97, 108, 922 P.2d 43 (1996). “The

15   purpose of the [WLAD] is to deter and eradicate discrimination in Washington—

16   a public policy of the highest priority.” Id. (citations omitted).

17         Just as the Court should not transport language only found in subsection (3)

18   of the statute to subsection (1) so as to narrow the law’s coverage, it should not

19   misapply the “reasonable belief” rule that was designed to expand the law in a way

20   that narrows it. Again, the Court should simply apply the WLAD as written,
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 1   keeping in mind the mandate to interpret the law such that it deters and eradicates

 2   discrimination as much as possible.

 3      E. The Legislature’s Mandate is Consistent with Public Policy.

 4         Defendants, like Plaintiff, argue that their preferred outcome is consistent

 5   with public policy. ECF No. 42, p. 15. It is true that there are competing interests

 6   at stake: the need to eradicate discrimination balanced against the desire to ensure

 7   truthfulness. The critical point to remember, however, is that it is not the Court’s

 8   role to set public policy. This role is reserved for the legislature; the Court’s role is

 9   to ascertain and follow the legislature’s intent. The legislature has made its intent

10   manifest in its decision to provide an untruthfulness defense only in subsection (3),

11   and in its liberal construction mandate. Plaintiff raises the issue of public policy

12   only to counter any suggestion that the legislature did not mean what it wrote in

13   the statute, by showing that the plain text of the statute comports with the

14   overarching goal of eradicating discrimination. If the Court feels that the plain text

15   does not adequately convey the legislature’s intent, certification is appropriate to

16   allow the Washington Supreme Court to resolve this critical issue.

17      F. Defendants are Not Entitled to Summary Judgment.

18         Defendants next argue that they are entitled to summary judgment dismissal

19   of Plaintiff’s retaliation claim because Plaintiff did not make a prima facie claim

20   and because Defendants have proven a nondiscriminatory motive as a matter of
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 1   law. Defendants’ motion should be denied because they present legal and factual

 2   conclusions that are very much unresolved. At the same time, Defendants

 3   demonstrate how crucial it is to follow the text of the WLAD and disallow the

 4   untruthfulness defense, as it would allow every employer to retaliate with virtual

 5   impunity simply by asserting a subjective belief that an employee was dishonest.

 6         1. Plaintiff has Made a Prima Facie Case.

 7         As discussed in Section B, Plaintiff has established his prima facie case of

 8   retaliation as a matter of law: (1) Plaintiff engaged in a statutorily protected

 9   activities when he complained to his employer about sexual orientation harassment

10   and participated in the investigation (ECF Nos. 40-1, 40-2); (2) Defendants took

11   an adverse action against Plaintiff when they fired him (ECF No. 40-4); and (3)

12   there is a causal connection between Plaintiff’s protected activities and his

13   termination, as conceded by Defendants in the termination letter. Id.

14          Defendants premise their argument only on cases from other jurisdictions

15   relating to a different statute. For instance, they assert that Mr. Goodell did not

16   engage in a protected activity under the opposition clause because the opposition

17   clause does not protect the making of a knowingly false allegation but support this

18   proposition only with a cite to Villa v. CavaMezze Grill, LLC, 858 F.3d 896, 901

19   (4th Cir. 2017), a case that does not address the WLAD. ECF No. 42, p. 15. Later,

20   Defendants assert that violations of company policies and lying during an
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 1   investigation constitute legitimate and nondiscriminatory reasons for termination,

 2   but again cite only federal decisions from other circuits, interpreting Title VII. Id.,

 3   p. 17. These decisions interpreting federal law do not determine what the law is in

 4   Washington. Defendants present no Washington cases and must avoid mentioning

 5   the WLAD itself, since the text of the law rebuts their position.

 6         Equally important is Defendants’ misrepresentation of the facts. They boldly

 7   state that “Mr. Goodell did not have a reasonable belief that he was opposing an

 8   unlawful practice as Defendants, after conducting an investigation, ‘determined

 9   that the allegations against Mr. Haney in [Mr. Goodell’s] complaint . . . are false.’”

10   ECF No. 42, p. 15, citing D-SOF 8. But Defendants offer no proof, or even

11   admissible evidence, that any of the allegations in Mr. Goodell’s complaint of

12   discrimination were false, but merely Defendant Ocampo’s subjective and disputed

13   belief that the allegations were false. ECF No. 42-2. Mr. Ocampo’s opinion in no

14   way proves that Mr. Goodell did not have a reasonable belief that he was opposing

15   an unlawful practice.

16         When considering Defendants’ motion for summary judgment the Court is

17   required to view all facts in the light most favorable to Plaintiff. This means that it

18   must assume that Plaintiff’s complaint of discrimination was truthful, and that Mr.

19   Ocampo’s allegation of untruthfulness was incorrect. The Court should not accept

20   as an undisputed fact that Mr. Ocampo genuinely believed that Mr. Goodell was
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 1   untruthful because, as alleged in the Complaint, Mr. Goodell had been subjected

 2   to harassment, discrimination, and retaliation for years after blowing the whistle

 3   on numerous legal violations occurring at CCPT, and truthfully reported

 4   discrimination and harassment to Mr. Ocampo. ECF Nos. 37, 44. When the

 5   evidence is viewed in the light most favorable to Plaintiff, Defendants’ motion for

 6   summary judgment must be denied.

 7         2. Termination for an Allegedly Fabricated Complaint                             of
              Discrimination Does Not Constitute a Legitimate Motive.
 8
           There is a dispute of fact on Defendants’ assertion that Mr. Goodell
 9
     fabricated a claim of discrimination and lied during the investigation, just as there
10
     is a dispute over whether Defendants genuinely believe Mr. Goodell lied or simply
11
     used this as a pretext for retaliation. ECF No. 37 (Complaint); ECF No. 44, Ex. A
12
     (Goodell Declaration). But this dispute is inapposite to this motion, which asks
13
     whether an allegedly fabricated complaint of discrimination can ever constitute a
14
     legitimate basis to fire someone under the WLAD. As explained above, it cannot.
15
           But Defendants’ motion serves an important function by perfectly
16
     illustrating why the legislature chose not to include an untruthfulness defense in
17
     RCW 49.60.210(1). Defendants reveal how easy it would be for employers to
18
     retaliate against virtually any victim of, or witness to, discrimination, no matter
19
     how truthful and well-founded their claims and testimony. As explained above, if
20
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 1   the untruthfulness defense were allowed, all that employers would have to do—as

 2   Defendants attempt to do here—is simply conclude that they do not believe the

 3   victim or witness. Employers would not need actual proof that a person is lying—

 4   they could simply proclaim that a person’s demeanor gave the employer pause,

 5   that the allegations were too unlikely to be believed, that they lack corroboration,

 6   or that the alleged wrongdoer had a reputation that made them more credible than

 7   the victim. Every victim and witness would soon learn that reporting

 8   discrimination only leads to further victimization.

 9         The Court should consider what would be left of the WLAD if it granted

10   Defendants’ cross motion for summary judgment and accepted Defendants’ legal

11   theory. It should consider what this would mean to all future victims of

12   discrimination, as well as essential witnesses, who are considering whether it is

13   safe to speak out against discrimination. If the intent of the WLAD—the

14   eradication of discrimination—is to be fulfilled, employers must not be permitted

15   to discriminate or retaliate based on a belief that a complaint of discrimination was

16   untruthful. The legislature recognized this when it drafted RCW 49.60.210.

17      G. If the Court Finds the WLAD Unclear, Certification is Necessary.

18         The text of RCW 49.60.210(1) is unambiguous, and the Court should

19   assume that the lack of an untruthfulness defense is intentional. The Court must

20   also construe the statute liberally to advance the goal of eradicating discrimination,
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 1   a goal which cannot be accomplished unless the law is enforced as written. As

 2   such, the Court can grant summary judgment to Plaintiff and deny Defendants’

 3   cross motion based on the text of the statute, without certifying the matter to the

 4   Washington Supreme Court.

 5         But if the Court determines that judicial precedent is needed to resolve the

 6   issues presented, existing case law is inadequate. As Defendants concede,

 7   “Washington has not expressly applied the ‘opposition clause’ in the context of

 8   fabrication or dishonesty in an internal employer investigation.” ECF No. 42, p.

 9   19. Cases analyzing the issue under federal law are both contradictory and non-

10   binding. The Court cannot grant Defendants’ motion for summary judgment based

11   on existing precedent, as Defendants are unable to offer statutory support or

12   controlling case law. If the Court cannot determine the law based on the text of the

13   WLAD, “it is necessary to ascertain the local law of this state in order to dispose

14   of such proceeding and the local law has not been determined.” RCW 2.60.020.

15      H. Plaintiff’s Claim Under RCW 49.60.210(2) Should be Dismissed and
           Replaced with a Claim for Wrongful Discharge in Violation of Public
16         Policy.

17         Defendants are correct that RCW 49.60.210(2) only applies to state

18   employees and not municipal employees. Plaintiff thus voluntarily withdraws his

19   claim under this statutory subsection. But as the Washington Supreme Court held

20   in Wilson v. City of Monroe, the myriad state laws prohibiting retaliation against
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 1   whistleblowers—to include but not limited to the State Employee Whistleblower

 2   Act (RCW 42.40), the Local Government Whistleblower Act (RCW 42.41), and

 3   Washington Industrial Safety and Health Act (RCW 49.17.160)—do not provide

 4   mandatory and exclusive remedies and support a cause of action for wrongful

 5   discharge in contravention of public policy. 88 Wn. App. 113, 122-127, 943 P.2d

 6   1134 (1997); accord Rose v. Anderson Hay &Grain Co., 184 Wn.2d 268, 358 P.3d

 7   1139 (2015) (reembracing the formulation of the tort as initially articulated,

 8   permitting claims regardless of adequacy of alternative remedies).

 9          Given the early procedural posture of this case, and in the interest of justice,

10   Plaintiff moves the Court to allow him to amend his Complaint to replace this claim

11   with a cause of action for wrongful discharge in violation of public policy

12   protecting whistleblowers.

13                                   IV.    CONCLUSION

14          Plaintiff respectfully requests that the Court grant his motion for partial
15   summary judgment and deny Defendants’ cross motion. Alternatively, Plaintiff
16   asks the Court to certify this case to the Washington Supreme Court to ascertain
17   the law of this state.
18

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 1        RESPECTFULLY SUBMITTED this 24th day of December, 2020.

 2                                PAUKERT & TROPPMANN, PLLC

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 1                             CERTIFICATE OF SERVICE

 2         I hereby certify that on this date, I electronically filed the foregoing

 3   document with the Clerk of the Court using the CM/ECF system, which will send

 4   electronic service to the following individual(s):

 5        Ron Van Wert                rvw@ettermcmahon.com

 6        Andrew M Wagley             awagley@ettermcmahon.com

 7

 8
           DATED December 24, 2020.
 9
                                      PAUKERT & TROPPMANN, PLLC
10

11                                    By: /s/Mary Bisset
                                      Mary Bisset, Paralegal
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